                 Case 4:24-mj-30289-CI ECF No. 1, PageID.13
                                               AUSA:          Filed 07/25/24 Page
                                                       Rawsthorne                   1 of (810)
                                                                             Telephone:   11 766-5177
AO 91 (Rev. ) Criminal Complaint               Special Agent:           Wiggins, FBI                 Telephone: (810) 239-5775

                                        UNITED STATES DISTRICT COURT
                                                                   for the
                                                   Eastern District of Michigan

United States of America
   v.
Jacob Anthony Kromberg                                                        Case No.      4:24-mj-30289
                                                                                            Judge: Ivy, Curtis
                                                                                            Filed: 07-25-2024




                                                     CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

         On or about the date(s) of                       Feburary 2024               in the county of          Shiawassee     in the
       Eastern           District of        Michigan           , the defendant(s) violated:
                Code Section                                                      Offense Description
 18 U.S.C. § 2422(b)                                        coercion and enticement of a minor
 18 U.S.C. § 2252A(a)(2)                                    receipt of child pornography
 18 U.S.C. § 2252A(a)(5)                                    possession of child pornography




       This criminal complaint is based on these facts:
There is probable cause to believe that Jacob Anthony Kromberg committed violations of 18 U.S.C. § 2422(b) (coercion
and enticement of a minor), 18 U.S.C. § 2252A(a)(2) (receipt of child pornography), and 18 U.S.C. § 2252A(a)(5)
(possession of child pornography).




✔ Continued on the attached sheet.

                                                                                              Complainant’s signature

                                                                          Michael Wiggins, Special Agent, FBI
                                                                                               Printed name and title

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UHOLDEOHHOHFWURQLFPHDQV.

Date: 7/25/2024                                                                                  Judge’s signature

City and state: Bay City, MI                                              Honorable Patricia T. Morris, U.S Magistrate Judge
                                                                                               Printed name and title
    Case 4:24-mj-30289-CI ECF No. 1, PageID.14 Filed 07/25/24 Page 2 of 11




                    AFFIDAVIT IN SUPPORT OF
           AN APPLICATION FOR A CRIMINAL COMPLAINT
                     AND ARREST WARRANT

      I, Michael S. Wiggins, a Special Agent with the Federal Bureau of

Investigation, being duly sworn, depose and state as follows:

      1.    I am a Special Agent (SA) of the Federal Bureau of Investigation (FBI),

United States Department of Justice (DOJ). I have been so employed since March

2004. I am currently assigned to the FBI's Detroit Division, Flint Resident Agency

(FLRA) as the Coordinator and a member of the Northeast Michigan Trafficking

and Exploitation Crimes Task Force (NEMTEC) which is a Federal Bureau of

Investigation (FBI) managed task force. It is tasked with addressing Crimes Against

Children and Human Trafficking threats in coordination and cooperation with its

local and state partners. As part of my employment, I have received training in and

been involved in investigations regarding human trafficking, exploitation of

children, drug trafficking, money laundering, threats, financial crimes, crimes

involving gang related activities, child pornography and other violations of federal

law. I have been involved with several investigations regarding child pornography

and the exploitation of children through the internet. I have observed and reviewed

numerous examples of child pornography (as defined in 18 U.S.C. § 2256) in all

forms of media including computer media.
                                         1
    Case 4:24-mj-30289-CI ECF No. 1, PageID.15 Filed 07/25/24 Page 3 of 11




      2.     This affidavit is made in support of an application for a criminal

complaint and arrest warrant for Jacob Anthony Kromberg for violations of 18

U.S.C. § 2422(b) (coercion and enticement of a minor), 18 U.S.C. § 2252A(a)(2)

(receipt of child pornography), and 18 U.S.C. § 2252A(a)(5) (possession of child

pornography).

      3.     The facts set forth in this affidavit are based upon my personal

observations, my training and experience, and information made available to me by

other law enforcement professionals. Because this affidavit is being submitted for

the limited purpose of securing a criminal complaint and arrest warrant, I have not

included each and every fact known to me concerning this investigation. I have set

forth only the facts that I believe are necessary to establish probable cause for the

requested complaint and arrest warrant.

      4.     In February 2024, a 14-year-old student athlete (hereinafter referred to

as MV-1), reported to his coach that he was being solicited online for sexual

activities via the social media application Snapchat. MV-1 reported that the

suspect had traveled to his school sporting events and taken pictures of MV-1

partially undressed, later sending the pictures to the victim via Snapchat and asking

to engage in oral sex with him for money. MV-1 reported the suspect used

multiple Snapchat display names to conduct this solicitation.
                                          2
    Case 4:24-mj-30289-CI ECF No. 1, PageID.16 Filed 07/25/24 Page 4 of 11




      5.     As a default setting, Snapchat conversations and images are routinely

deleted shortly after transmission. However, MV-1 took pictures and screenshot

images of the conversation with the suspect. At one point, the victim took a

screenshot of a partial facial image that the suspect sent to him during a snapchat

conversation, which he believed to be the unknown suspect. This image was later

circulated to coaches for awareness.

      6.     Several days later at a school sporting event, a coach had a face-to-

face encounter with an individual he recognized as the suspect based on the image

provided by MV-1. The coach followed the individual to the parking lot and

observed him enter a white Ford Fusion sedan. The coach took a picture of the

vehicle including its license plate using a cellphone, which was later provided to

law enforcement.

      7.     State of Michigan vehicle registration searches confirmed the license

plate for the above-referenced vehicle belonged to a 2020 Ford Fusion, registered

to a 56-year-old man named with a home address located in Howell, Michigan.

Also registered as living at this same address was a 26-year-old man, Jacob

Kromberg, according to his Michigan driver’s license record.

      8.     Continuing with the investigation, law enforcement took possession of
                                          3
    Case 4:24-mj-30289-CI ECF No. 1, PageID.17 Filed 07/25/24 Page 5 of 11




MV-1’s cellular phone and reviewed the reported Snapchat messaging.

Investigators observed the suspect, using a Snapchat display name of “Max”

(username “max.smi34”), had sent MV-1 messages such as “Do u want ur dick

sucked. I’ll give u money if u wany.” MV-1 replied “No.”


      9.     Legal orders were sent to Snapchat for account information relating to

one of the suspect’s Snapchat accounts (max.smi34). Snapchat returned records

including account subscriber information, messages, and images stored within the

account.

      10.    During the review of records provided by Snapchat, investigators

learned the account contained two different usernames: max.smi34 and maxwil54.

This is common, as Snapchat allows its users to change their usernames and

display names without opening a new account. Although these usernames are the

same account, investigators took note of the additional username maxwil54, which

was determined to be the subject of a March 2024 cyber-tip complaint submitted to

the National Center for Missing and Exploited Children (NCMEC) for a different

online child enticement complaint using Snapchat. The victim complainant in that

report lived in Missouri.

      11.    During the continued review of the max.smi34 account records,
                                         4
    Case 4:24-mj-30289-CI ECF No. 1, PageID.18 Filed 07/25/24 Page 6 of 11




investigators observed numerous images of adolescent and teenage male student

athletes with their shirts off at various sporting events who appeared to be unaware

that someone was taking their picture. Each of the boys appeared to be aged

approximately 12-17 years old.


      12.    During further review of the max.smi34 account, investigators

observed numerous conversations in which the max.smi34 user appeared to solicit

and entice other Snapchat users, seemingly minors, into meeting for sexual

encounters. A sample of these messages are listed below, each sent by max.smi34

to various Snapchat users on March 6, 2024:

             “I go to kids wrestling meets to take pics of em shirtless”

             “U know where I can find boys 11-13”

             “I'm looking for young boys 11-16”

             “I love to suck on teen boys”

             “Can I suck ur young boy dick”

             “I’ll suck ur dick for money”

             “Send pic of u if u want money”

             “Added u to my collection of young teen boys”

      13.    Following is a conversation between max.smi34 and [redacted] user

                                          5
    Case 4:24-mj-30289-CI ECF No. 1, PageID.19 Filed 07/25/24 Page 7 of 11




dated March 6, 2024:


             max.smi34: “Hi age”

             redacted user: “14”

             max.smi34: “U want ur young teen dick sucked”

             redacted user: “No”

             max.smi34: “Cmon lemme make u shoot warm cum”

      14.    During further review of the max.smi34 account, investigators

observed what appears to be a collection of images and “selfies” from various

adolescent and teenage males who sent images of themselves to the suspect over

Snapchat, to include nude images of themselves fondling their penises. In one

such image, a nude boy appearing to be approximately 15-17 years old is standing

inside a shower touching his erect penis. This apparent minor also sent the suspect

additional selfie-type images in which his erect penis is visible, thereby

constituting federal child pornography as defined under 18 U.S.C. § 2256. Further,

when investigators reviewed the messaging conversation between this user and

max.smi34, they observed this user told max.smi34 that he is 16 years old.

Following that statement, a prolonged thread of graphic conversation ensued

including max.smi34 discussing money and asking to meet the minor for sex.


                                          6
    Case 4:24-mj-30289-CI ECF No. 1, PageID.20 Filed 07/25/24 Page 8 of 11




      15.    Further, Snapchat provided the IP addresses used by the suspect to

connect to the internet when logged into the max.smi34 Snapchat account (an IP

address is a unique numerical identifier assigned to a device accessing the

internet). Investigators discovered some of these IP addresses were owned by

Verizon. Legal orders were then sent to Verizon requesting subscriber information

for the IP addresses used to create the Snapchat account max.smi34 and befriend

MV-1 on Snapchat.


      16.    Investigators received records from Verizon and discovered that the

cellular device assigned telephone number 810-852-**** was the only device that

connected to both the IP address used on February 25, 2024 to create the

max.smi34 Snapchat account and the IP address used on February 26, 2024 to

befriend MV-1 on Snapchat. In essence, this information confirmed that the

cellular device assigned telephone number 810-852-**** was the device used to

create the suspect Snapchat account max.smi34 and subsequently befriend MV-1

on Snapchat.

      17.    Investigators conducted a TLO database search of this phone number,

which is an investigative resource that allows subscribing law enforcement

agencies to search public and proprietary data to assist with criminal

                                          7
    Case 4:24-mj-30289-CI ECF No. 1, PageID.21 Filed 07/25/24 Page 9 of 11




investigations. A search for telephone number 810-852-**** revealed it was

associated with Jacob Kromberg, a resident of Howell, Michigan. Investigators

observed that this was the same individual described above in Paragraph 7, who

shares the same registered address as the suspect vehicle that was reported by a

coach to be at a sporting event in March 2024.


      18.   Investigators reviewed the contents of the text messages stored within

the Verizon account associated with phone number 810-852-**** and observed

numerous text message conversations in which both the sender and the recipients

of messages refer to the sender as “Jacob.” Investigators also observed several text

messages received on a specific date in 2024, stating, “Happy Birthday.” One text

read, “Good morning Jake! Happy Birthday. What time did you say you are

coming home?" Investigators noted Jacob Kromberg was born on that date in

1998, as indicated by his Michigan driver’s license record.

      19.     Investigators also observed media content in the search warrant

return including an image of a training certificate in which the student’s name was

“Jacob Kromberg,” dated May 31, 2024.


      20.   Investigators conducted basic internet searches for Jacob Kromberg and

located a webpage from a high school in Washtenaw County, Michigan, in which he
                                         8
   Case 4:24-mj-30289-CI ECF No. 1, PageID.22 Filed 07/25/24 Page 10 of 11




was listed as the Boy’s Freshman Soccer Coach for the Fall 2021-2022 Season. His

contact phone number listed on the Coach’s Bio webpage was 810-852-****.

      21.    On July 23, 2024, I obtained a federal search warrant authorizing, the

search of the person of Jacob Kromberg, Kromberg’s vehicle, and Kromberg’s

residence. This warrant was authorized by United States Magistrate Judge David

Grand. The warrant was executed on July 24, 2024. Several items were seized

pursuant to this warrant, including an external hard drive located in Kromberg’s

bedroom in the residence. I previewed this item and observed multiple images

depicting child pornography in a subfolder with the following file path: “My

Passport\Jacob HPBack-Up\Pictures\Snapchat.” The pictures appeared to be images

saved from the Snapchat social media application. For example, a file named

“Snapchat-1987836525.jpg” depicted a male approximately 13 to 15 years old from

the mid-thigh to the top of his abdomen. The subject of the photo was completely

nude and his erect penis was clearly visible.




                                          9
   Case 4:24-mj-30289-CI ECF No. 1, PageID.23 Filed 07/25/24 Page 11 of 11




      22.   Based on the aforementioned facts, there is probable cause to believe

that Jacob Anthony Kromberg committed violations of 18 U.S.C. § 2422(b)

(coercion and enticement of a minor), 18 U.S.C. § 2252A(a)(2) (receipt of child

pornography), and 18 U.S.C. § 2252A(a)(5) (possession of child pornography).




                                                 Michael S. Wiggins
                                                 Special Agent

      Sworn to before me and signed in my presence
      and/or by reliable electronic means on ________________.
                                               July 25, 2024




      Patricia T. Morris
      United States Magistrate Judge




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